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                                                                  [2]   Appeal and Error         Judgment on the
                      643 S.W.3d 295
                                                                        pleadings
                 Supreme Court of Missouri,
                                                                        When reviewing the trial court's ruling on a
                         en banc.
                                                                        motion for judgment on the pleadings, the
          CITY OF ST. LOUIS; St. Louis County;                          Supreme Court must determine whether the state
             and Jackson County, Appellants,                            is entitled to judgment as a matter of law on the
                           v.                                           face of the pleadings.
           STATE of Missouri; and Eric Schmitt,                         1 Case that cites this headnote
        Attorney General of Missouri, Respondents.

                        No. SC 99290                              [3]   Declaratory Judgment          Motions in general
                               |                                        The Supreme Court must treat plaintiffs’ well-
                 Opinion issued April 26, 2022                          pleaded facts from their declaratory judgment
                                                                        petition as admitted for purposes of the state's
Synopsis                                                                motion for judgment on the pleadings.
Background: City and counties filed declaratory judgment
action against state, seeking declaration that Second
Amendment Protection Act (SAPA) was unconstitutional and
                                                                  [4]   Appeal and Error       Verdict, Findings,
requesting injunctive relief. State moved for judgment on
                                                                        Sufficiency of Evidence, and Judgment
pleadings, and the Circuit Court, Cole County, Daniel R.
Green, J., sustained the motion. City and counties appealed.            The Supreme Court will affirm the judgment if it
                                                                        is supported by any theory, regardless of whether
                                                                        the reasons advanced by the trial court are wrong
                                                                        or not sufficient.
Holdings: The Supreme Court, Draper, J., held that:

[1] plaintiffs lacked adequate remedy at law in which to
                                                                  [5]   Declaratory Judgment          Adequacy of other
adjudicate their specific constitutional challenges, but
                                                                        remedy

[2] Supreme Court would decline to invoke rule governing                City and counties lacked adequate remedy
disposition on appeal and enter judgment on merits.                     at law in which to adjudicate their specific
                                                                        constitutional challenges, in proceeding on
                                                                        their declaratory judgment action against state
Reversed and remanded.                                                  seeking declaration that Second Amendment
                                                                        Protection Act (SAPA) was unconstitutional and
Fischer, J., filed dissenting opinion.                                  requesting injunctive relief, though state argued
                                                                        pending lawsuits against plaintiffs provided them
Procedural Posture(s): On Appeal; Motion for Judgment on                with opportunities to assert their constitutional
the Pleadings.                                                          challenges; plaintiffs were not required to subject
                                                                        themselves to multiple, individual suits to assert
                                                                        their constitutional challenges, and lawsuits
 West Headnotes (12)
                                                                        likely would not provide plaintiffs opportunity
                                                                        to adjudicate their specific constitutional claims
 [1]     Appeal and Error          Judgment on the                      due to their procedural posture and thus did not
         pleadings                                                      provide plaintiffs with adequate remedy of law.
         The Supreme Court reviews the trial court's grant              U.S. Const. Amend. 2;      Mo. Ann. Stat. § 1.410
         of judgment on the pleadings de novo.                          et seq.




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 [6]    Declaratory Judgment          Right to                     [10]   Declaratory Judgment             Validity of statutes
        declaratory relief in general                                     and proposed bills
        The interest of being free from the constraints                   Parties need not subject themselves to a
        of an unconstitutional law is an interest that                    multiplicity of suits or litigation or await the
        is entitled to legal protection in the form of a                  imposition of penalties under an unconstitutional
        declaratory judgment.                                             enactment in order to assert their constitutional
                                                                          claim for an injunction; once the gun has been
                                                                          cocked and aimed and the finger is on the trigger,
 [7]    Declaratory Judgment            Necessity, utility                it is not necessary to wait until the bullet strikes to
        and propriety                                                     invoke the Declaratory Judgment Act. Mo. Ann.
                                                                          Stat. § 527.010 et seq.
        Declaratory Judgment            Adequacy of other
        remedy
        Declaratory Judgment            Nature and
                                                                   [11]   Declaratory Judgment             Declaratory relief
        elements in general
                                                                          Following determination that city and counties
        A declaratory judgment provides guidance to
                                                                          had no adequate remedy at law other than to
        the parties, declaring their rights and obligations
                                                                          pursue declaratory judgment action, Supreme
        or otherwise governing their relationship, and
                                                                          Court would decline to invoke rule governing
        generally may be granted when a court is
                                                                          disposition on appeal and enter judgment on
        presented with: (1) a justiciable controversy that
                                                                          merits, in proceeding on plaintiffs' declaratory
        presents a real, substantial, presently-existing
                                                                          judgment action against state seeking declaration
        controversy admitting of specific relief, as
                                                                          that Second Amendment Protection Act (SAPA)
        distinguished from an advisory decree upon a
                                                                          was unconstitutional and requesting injunctive
        purely hypothetical situation; (2) a plaintiff with
                                                                          relief; trial court had not been afforded any
        a legally protectable interest at stake, consisting
                                                                          opportunity to review merits of plaintiffs'
        of a pecuniary or personal interest directly at
                                                                          constitutional challenges or their claims for
        issue and subject to immediate or prospective
                                                                          injunctive relief, and plaintiffs conceded they
        consequential relief; (3) a controversy ripe for
                                                                          had not filed dispositive motion seeking
        judicial determination; and (4) an inadequate
                                                                          declaration SAPA was unconstitutional. U.S.
        remedy at law.
                                                                          Const. Amend. 2;      Mo. Ann. Stat. § 1.410 et
                                                                          seq.; Mo. Sup. Ct. R. 84.14.
 [8]    Declaratory Judgment            Adequacy of other
        remedy
        The lack of an adequate remedy at law is a                 [12]   Declaratory Judgment             Declaratory relief
        prerequisite to relief via declaratory judgment.                  When there are no disputed facts, and the issue
                                                                          is a purely legal one, the court reviewing a
        1 Case that cites this headnote                                   declaratory judgment action will declare the
                                                                          rights and duties of the parties.
 [9]    Declaratory Judgment            Pendency of other
        action
        When an alternative remedy is a pending suit,
        there is even greater justification to apply the rule
                                                                  *296 APPEAL FROM THE CIRCUIT COURT OF
        against allowing declaratory judgment actions.
                                                                  COLE COUNTY, The Honorable Daniel R. Green, Judge




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Attorneys and Law Firms
                                                                                Factual and Procedural Background
The city was represented by Michael A. Garvin and Robert
H. Dierker of the city counselor's office in St. Louis, 314)         In 2021, the General Assembly passed House Bills Nos.
622-3361.                                                            85 and 310, collectively known as SAPA, which repealed
                                                                        section 1.320, RSMo 2016, and enacted “in lieu thereof
St. Louis County was represented by Mary L. Reitz of the St.
                                                                     nine new sections relating to the sole purpose of adding
Louis County counselor's office in Clayton, (314) 615-7042.
                                                                     additional protections to the right to bear arms, with penalty
Jackson County was represented by Dawn J. Diel of the                provisions and an emergency clause.” 2021 Mo. Legis. Serv.
Jackson County counselor's office in Kansas City, (816)              H.B. 85 & 310. These provisions were codified in sections
881-3811.                                                            1.410 through 1.485.

The state and attorney general were represented by D. John           SAPA's first four sections contain legislative findings
Sauer and Jesus A. Osete of the attorney general's office in         and declarations. In particular, section 1.410 contains
Jefferson City, (573) 751-3321.                                      ten legislative findings and declarations concerning the
                                                                     relationship between the federal government and its federal
Opinion                                                              acts, laws, executive orders, administrative orders, rules, and
                                                                     regulations (hereinafter and collectively, “federal gun laws”)
GEORGE W. DRAPER III, Judge
                                                                     and the state as they impact Missouri's law-abiding citizens’
The City of St. Louis, St. Louis County, and Jackson                 right to keep and bear arms. Section 1.420 declares certain
County (hereinafter and collectively, “Plaintiffs”) filed a          federal gun laws “shall be considered infringements on the
declaratory judgment action seeking a declaration that               people's right to keep and bear arms” in Missouri. Section
the Second Amendment Protection Act *297 (hereinafter                1.430 states all federal gun laws “that infringe upon the
                                                                     people's right to keep and bear arms ... shall not be recognized
“SAPA”), codified in sections 1.410 through 1.485, 1 is
                                                                     by this state, shall be specifically rejected by this state, and
unconstitutional and requesting injunctive relief. The state
                                                                     shall not be enforced by this state.” Section 1.440 directs
moved for judgment on the pleadings, alleging Plaintiffs had
                                                                     Missouri courts and law enforcement agencies to “protect the
adequate remedies at law rendering a declaratory judgment
                                                                     rights of law-abiding citizens to keep and bear arms” within
improper and, alternatively, defending SAPA's constitutional
                                                                     Missouri “and to protect these rights from infringement as
validity. The circuit court sustained the state's motion for
                                                                     defined under section 1.420.”
judgment on the pleadings, finding Plaintiffs had an adequate
remedy at law because multiple, individual lawsuits are
                                                                     SAPA's five remaining sections comprise the substantive
pending in which Plaintiffs could assert their constitutional
                                                                     provisions to enforce these legislative declarations. Section
challenges. Plaintiffs appealed to this Court. 2                     1.450 removes from Missouri entities, persons, public
                                                                     officers, state employees, and political subdivisions “the
This Court holds Plaintiffs met their burden of demonstrating        authority to enforce or attempt to enforce any” federal gun law
they are entitled to proceed with a declaratory judgment             “infringing on the right to keep and bear arms as described
action because they lack an adequate remedy at law in                under section 1.420.” However, nothing in SAPA “shall be
which to adjudicate their specific constitutional challenges.        construed to prohibit Missouri officials from accepting aid
Because Plaintiffs failed to file a dispositive pleading and the     from federal officials in an effort to enforce Missouri laws.”
circuit court did not have the opportunity to adjudicate their       Id. Sections 1.460 and 1.470 impose civil liability on state
constitutional challenges or claims for injunctive relief in the     political subdivisions and law enforcement *298 agencies
first instance, this Court declines to enter judgment pursuant       that employ individuals who knowingly violate “section
to Rule 84.14. The circuit court's judgment is reversed, and         1.450 or otherwise knowingly deprive[ ]” Missouri citizens of
the cause is remanded for further proceedings consistent with        their rights to keep and bear arms. Specifically, these actors
this opinion.                                                        “shall be liable to the injured party in an action at law, suit in
                                                                     equity, or other proper proceeding for redress, and subject to a
                                                                     civil penalty of fifty thousand dollars per occurrence.” Section
                                                                     1.460.1. Moreover, any state “political subdivision or law


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enforcement agency that knowingly employs an individual                background and integrated ballistic databases, working with
acting or who previously acted as an official, agent, employee,        the federal government on joint task forces and through
or deputy of the government of the United States, or otherwise         cooperative agreements, receiving federal funding, training,
acted under the color of federal law within [Missouri], who            and equipment, and allowing state law enforcement officers
has knowingly” either “[e]nforced or attempted to enforce any          to testify in federal court involving federal firearms offenses.
of the infringements identified in section 1.420” or “[g]iven          Plaintiffs’ petition concluded by seeking a declaration
material aid and support to the efforts of another who enforces        SAPA was unconstitutional and requesting injunctive relief
or attempts to enforce any of the infringements identified             preventing the implementation, enforcement, or application
in section 1.420” is likewise “subject to a civil penalty of           of the unconstitutional statutes. The parties agreed to continue
fifty thousand dollars per employee hired by the political             the preliminary injunction hearing and consolidate it with
subdivision or law enforcement agency.” Section 1.470.1(1)-            a trial on the merits *299 because the civil penalties for
(2). Section 1.480.1 defines a “law abiding citizen.” Section          specific actions would not take effect until August 28, 2021.
1.480.2 sets forth what actions constitute “material aid and
support.” Subsections (3) and (4) of section 1.480 enumerate           The state filed its answer and affirmative defenses, alleging
exceptions in which providing material aid and support will            Plaintiffs failed to plead and prove a justiciable controversy
not constitute a SAPA violation. Section 1.480.5 provides              ripe for adjudication existed in that they failed to identify any
SAPA “shall be applicable to offenses occurring on or after            attempt by the state to enforce or threaten to enforce SAPA
August 28, 2021.” Section 1.485 contains a severability                or demonstrate a concrete dispute in which SAPA affected
clause.                                                                Plaintiffs’ operations. The state further alleged SAPA was
                                                                       constitutional.
In June 2021, shortly after the governor signed SAPA into law,
the City of St. Louis and St. Louis County filed a declaratory         In August 2021, the City of St. Louis renewed its motion
judgment action seeking to declare SAPA unconstitutional               for a preliminary injunction, in which St. Louis County and
and moved for a preliminary injunction to prevent SAPA                 Jackson County joined, and filed memoranda in support. In
from being enforced while the litigation was pending. The              their renewed motion, Plaintiffs alleged they were parties to
declaratory judgment petition subsequently was amended to              several task forces with federal law enforcement agencies. As
add Jackson County as an additional plaintiff. Plaintiffs’             part of that participation, Plaintiffs’ law enforcement officers
petition alleged SAPA infringed upon rights guaranteed by              regularly participated with federal officers in investigations
the state and federal constitutions, curtailed law enforcement         and arrests involving federal gun law violations and are
officers’ ability to investigate, apprehend, and prosecute             deputized as federal law enforcement officers for that
criminals: and violated the United States Supremacy Clause.            purpose. Plaintiffs stated they receive federal funds for
The petition further claimed SAPA violated the Missouri                training, equipment, and overtime pay, along with use
Constitution because it: usurped the power and authority               of federal equipment, vehicles, and databases. Plaintiffs
granted to charter cities and counties; did not having a               alleged they were at risk of incurring civil penalties under
single subject, clear title, or original purpose; created a            SAPA for participating in these activities, among other
special law; and infringed upon the separation of powers.              things, and sought to enjoin SAPA enforcement while the
The petition stated, because SAPA did not identify specific            litigation was pending. The state opposed the preliminary
federal gun laws it deemed unconstitutional, Plaintiffs “were          injunction and filed a motion for judgment on the pleadings,
in doubt concerning their rights, duties, and liabilities”             reiterating that Plaintiffs failed to plead and prove a justiciable
under SAPA regarding which federal gun laws could not                  controversy ripe for adjudication existed. The state further
be enforced. Because sections 1.420 and 1.450 were vague               argued Plaintiffs had an adequate remedy at law in that
and indefinite, Plaintiffs maintained they “were in doubt              they could assert their constitutional claims as affirmative
concerning their potential liability” under sections 1.460             defenses in any SAPA enforcement action then pending
and 1.470. Plaintiffs alleged, because they employed and               against Plaintiffs (hereinafter, “pending lawsuits”). The state
continued to employ law enforcement officers who have or               alternatively contended, even if Plaintiffs had no adequate
will undertake to enforce federal gun laws, they were at               remedy at law, the state was entitled to judgment on the
risk for civil penalties. Plaintiffs’ petition set forth instances     pleadings because SAPA is constitutional.
in which SAPA enforcement would be “almost assuredly
disastrous” with respect to participating in national criminal



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The circuit court held a hearing on both motions on the               unconstitutional law’ is an interest that ‘is entitled to legal
same day. The state admitted there was “substantial overlap           protection.’ ” Rebman v. Parson, 576 S.W.3d 605, 609 (Mo.
between the two motions” and suggested they be argued
                                                                      banc 2019) (quoting Mo. Alliance for Retired Ams. v. Dep't
simultaneously, which occurred. 3 The circuit court sustained         of Labor & Indus. Relations, 277 S.W.3d 670, 677 (Mo. banc
the state's motion for judgment on the pleadings, finding the         2009)). Hence, “[a] declaratory judgment action has been
Plaintiffs had an adequate remedy at law because they could           found to be a proper action to challenge the constitutional
litigate their constitutional challenges in the pending lawsuits.     validity of a criminal statute or ordinance.” Alpert v. State,
Plaintiffs appeal, raising five points.
                                                                      543 S.W.3d 589, 592 (Mo. banc 2018) (quoting      Tupper v.
                                                                      City of St. Louis, 468 S.W.3d 360, 368 (Mo. banc 2015)).

                     Standard of Review
                                                                                  A declaratory judgment provides
 [1]    [2]    [3]     [4] “This Court reviews the circuit court's
                                                                                  guidance to the parties, declaring their
grant of judgment on the pleadings de novo.” Gross v. Parson,
                                                                                  rights and obligations or otherwise
624 S.W.3d 877, 883 (Mo. banc 2021). When reviewing
                                                                                  governing their relationship ... and
the circuit court's ruling, this Court must determine whether
                                                                                  generally may be granted when
the state is entitled to judgment as a matter of law on the
                                                                                  a court is presented with: (1) a
face of the pleadings. Id. This Court must treat Plaintiffs’
                                                                                  justiciable controversy that presents
well-pleaded facts from their declaratory judgment petition
                                                                                  a real, substantial, presently-existing
as admitted for purposes of the state's motion. Woods v. Mo.
                                                                                  controversy admitting of specific
Dep't of Corr., 595 S.W.3d 504, 505 (Mo. banc 2020). “This
                                                                                  relief, as distinguished from an
Court will affirm the judgment if it is supported by any theory,
                                                                                  advisory decree upon a purely
‘regardless of whether the reasons *300 advanced by the
                                                                                  hypothetical situation; (2) a plaintiff
[circuit] court are wrong or not sufficient.’ ” Gross, 624
                                                                                  with a legally protectable interest at
S.W.3d at 883 (alteration in original) (quoting Rouner v. Wise,
                                                                                  stake, consisting of a pecuniary or
446 S.W.3d 242, 249 (Mo. 2014)).
                                                                                  personal interest directly at issue and
                                                                                  subject to immediate or prospective
                                                                                  consequential relief; (3) a controversy
        Declaratory Judgment Action Challenging                                   ripe for judicial determination; and (4)
             SAPA's Constitutional Validity                                       an inadequate remedy at law.

 [5] In their first point, Plaintiffs argue the circuit court
erred in sustaining the state's motion for judgment on
the pleadings because they demonstrated the requisite                    Gurley v. Mo. Bd. of Private Investigator Examiners, 361
lack of adequate remedy and likelihood of irreparable
                                                                      S.W.3d 406 (Mo. banc 2012) (quoting     City of Lake Saint
harm warranting declaratory judgment and injunctive relief.
                                                                      Louis v. City of O'Fallon, 324 S.W.3d 756, 760 (Mo. banc
Plaintiffs argue they cannot obtain complete relief by raising
                                                                      2010)).
their constitutional claims challenging SAPA's validity in
the individual SAPA enforcement actions currently pending.
                                                               The state's motion for judgment on the pleadings focused
Plaintiffs allege being compelled to defend multiple lawsuits
                                                               on whether Plaintiffs pleaded a justiciable controversy ripe
is the very reason declaratory and injunctive relief is
                                                               for adjudication and whether Plaintiffs had an inadequate
warranted.
                                                               remedy at law. The state first argued Plaintiffs failed to plead
                                                               a justiciable controversy ripe for adjudication because they
 [6] [7] The Declaratory Judgment Act is “remedial” in that
                                                               failed to identify any attempt by the state to enforce or
“its purpose is to settle and afford relief from uncertainty
                                                               threaten to enforce SAPA. “This Court repeatedly has rejected
and insecurity with respect to rights, status, and other legal
                                                               the notion a person must violate the law to create a ripe
relations.” Section 527.120, RSMo 2016; see also Planned
                                                               controversy.” Alpert, 543 S.W.3d at 594. Likewise, this Court
Parenthood of Kan. v. Nixon, 220 S.W.3d 732, 738 (Mo. banc
                                                               has held pre-enforcement actions to assert constitutional
2007). “The interest of being ‘free from the constraints of an


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claims present a justiciable controversy ripe for adjudication.
                                                                       [8]   [9]    [10] “The lack of an adequate remedy at law is
For example, in     Nicolai v. City of St. Louis, 762 S.W.2d
423, 424 (Mo. banc 1988), a cat owner brought a declaratory           a prerequisite to relief via declaratory judgment.”      City of
judgment action disputing the authority of the city to tax his        Kan. City, Mo. v. Chastain, 420 S.W.3d 550, 555 (Mo. banc
premises as a cat kennel prior to being cited with a violation.       2014). This Court generally recognizes when an “alternative
The circuit court dismissed his action for failure to state a         remedy is a pending suit, there is even greater justification to
claim upon which relief could be granted and for failing to           apply the rule against allowing declaratory judgment actions.”
exhaust administrative *301 remedies, and the cat owner               Schaefer v. Koster, 342 S.W.3d 299, 300 (Mo. banc 2011)
                                                                      (quoting Am. Family Mut. Ins. Co. v. Nigl, 123 S.W.3d 297,
appealed. Id. This Court rejected the city's argument the cat
                                                                      302 (Mo. App. E.D. 2003)). However,
owner could raise his constitutional challenge as a defense in
a subsequent criminal prosecution.      Id. at 425. This Court
explained the claim was “ripe for judicial resolution, and there                   [p]arties need not subject themselves
was no need for him to await criminal prosecution before                           to a multiplicity of suits or litigation or
seeking a determination of his rights.” Id.; see also Alpert,                      await the imposition of penalties under
543 S.W.3d at 595 (holding the plaintiff's pre-enforcement                         an unconstitutional enactment in order
constitutional challenge to a statute that precluded him from                      to assert their constitutional claim for
obtaining a federal firearms license and possessing firearms                       an injunction .... Once the gun has been
was ripe even though the defense could be raised in a                              cocked and aimed and the finger is on
subsequent criminal prosecution); Planned Parenthood, 220                          the trigger, it is not necessary to wait
S.W.3d at 738 (holding the plaintiffs’ constitutional claims                       until the bullet strikes to invoke the
were ripe even though neither the attorney general nor the                         Declaratory Judgment Act.
state had attempted to enforce the statute); Bldg. Owners
& Managers Ass'n of Metro. St. Louis, Inc. v. City of St.
Louis, Mo., 341 S.W.3d 143, 149 (Mo. App. E.D. 2011)                  Alpert, 543 S.W.3d at 595 (alteration in original) (quoting
(finding a pre-enforcement challenge was ripe even though             Planned Parenthood, 220 S.W.3d at 739).
the plaintiffs would be subject to criminal penalties if they
violated the ordinance's provisions);      Tupper, 468 S.W.3d         Plaintiffs need not subject themselves to multiple, individual
at 370 (stating the plaintiffs’ challenge to the city's red light     suits to assert their constitutional challenges. Moreover, a
camera ordinance was ripe despite neither plaintiff facing            cursory review of the pending lawsuits demonstrate they
prosecution at the time the challenge was raised).                    were either filed before SAPA's effective enforcement date of
                                                                      August *302 28, 2021, 4 or filed after August 28, 2021, but
The state next argued Plaintiffs did not demonstrate the              stating the alleged conduct upon which the SAPA violation
dispute was immediate and concrete. This assertion is belied          is premised occurred before August 28, 2021. 5 Noting these
by the fact Plaintiffs currently are defending themselves in          facts from the face of the pleadings does not constitute an
the pending lawsuits, hence demonstrating an immediate and            opinion by this Court about the merits of those pending
concrete dispute. Finally, the state argued Plaintiffs have an        lawsuits; however, they likely will not provide Plaintiffs an
adequate remedy at law. The state contended Plaintiffs can            opportunity to adjudicate their specific constitutional claims
assert their constitutional claims as a defense to any SAPA           due to their procedural posture and, therefore, do not provide
enforcement action, including the five pending lawsuits. The
                                                                      Plaintiffs with an adequate remedy at law. 6 Accordingly, this
state maintains the pending lawsuits provide Plaintiffs with
                                                                      Court holds the circuit court erred in entering judgment on
more opportunities to assert their constitutional challenges
                                                                      the pleadings in the state's favor because Plaintiffs lack an
and notes Plaintiffs have raised these challenges therein.
                                                                      adequate remedy at law in which to adjudicate their specific
Plaintiffs contend the pending lawsuits do not afford them the
                                                                      constitutional challenges.
opportunity to assert their specific constitutional challenges
and could subject them to conflicting judgments. Both parties
                                                                      Although the dissenting opinion asserts Plaintiffs have an
asked this Court to take judicial notice of the pending lawsuits
                                                                      adequate remedy at law because nothing bars them from
to resolve this issue.
                                                                      raising their constitutional claims as affirmative defenses in


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any pending suit or in the future, it fails to recognize or            provides, “Unless justice otherwise requires, the court shall
distinguish this Court's precedent holding a party need not
                                                                       dispose finally of the case.” Plaintiffs rely on    Nicolai and
face a multiplicity of lawsuits or wait for an enforcement
action to be initiated before seeking a declaration of rights.            Gurley to support their argument this Court should invoke
Further, the dissenting opinion relies on Judge Wilson's               Rule 84.14 and declare the parties’ rights under SAPA rather
                                                                       than remand the cause for further proceedings.
dissenting opinion in Alpert, which quoted Harris v.
State Bank & Trust Company of Wellston, 484 S.W.2d
                                                                       In     Nicolai, the city conceded the circuit court erred in
177, 178-79 (Mo. 1972).      Harris stated the declaratory
                                                                       failing to dismiss the cat owner's petition for failing to
judgment act “should be used with caution. And except
in exceptional circumstances plainly appearing, it is not to           state a claim.    Nicolai, 762 S.W.2d at 425. This Court
be used and applied where an adequate remedy already                   reversed the circuit court's judgment and rendered “a final
                                                                       determination on the issues presented in the pleadings” upon
exists.”  Id. Just as the principal opinion noted in Alpert,
543 S.W.3d at 595 n.6, and this Court must reiterate again             the joint request of the parties. Id. at 426. This Court agreed
                                                                       “[b]ecause there [were] no disputed facts, and the issue [was]
today, the dissenting opinion's reliance on            Harris is
                                                                       a purely legal one ....”     Id.    Nicolai is distinguishable
misplaced because       Harris did not present a constitutional
                                                                       because the parties here do not jointly request this Court to
challenge and    Harris’ “exceptional circumstances plainly            declare the parties’ respective rights under SAPA.
appearing” test has not been cited or relied upon by this
Court since Harris was decided fifty years ago. This Court              [11] [12] In        Gurley, the plaintiff applied for a private
declined to apply the “exceptional circumstances plainly               investigator's license, was denied initially, but received
appearing test” in Alpert, and neither the parties nor the             the license after the administrative hearing commission
dissenting opinion provide any reason to change course four
                                                                       conducted its review.          Gurley, 361 S.W.3d at 409.
years later. Similarly, the dissenting opinion here echoes
                                                                       The plaintiff nevertheless continued to challenge the
Judge Wilson's Alpert dissenting opinion characterizing this
                                                                       constitutional validity of the statutory scheme under which he
Court's long line of precedent cited herein as “lax” only
because there is no discernable ground upon which to                   was licensed. Id. The circuit court dismissed the plaintiff's
distinguish those holdings to support its position. Rather             constitutional claims after concluding the licensure statutes
than being “lax,” the Court in Alpert and here applied valid,          were constitutional on their face.      Id. On appeal, this
binding precedent as required by the doctrine of stare decisis.        Court recognized when the circuit court “fails to make a
                                                                       declaration settling rights, as when it dismisses a petition
                                                                       without a declaration, a reviewing court may make the
        Entering Judgment Pursuant to Rule 84.14                       declaration.” Id. at 411 (quoting Nicolai, 762 S.W.2d at
                                                                       426). Moreover, “[w]hen there are no disputed facts, and the
Because this Court determined Plaintiffs have no adequate
                                                                       issue is a purely legal one, the reviewing court will declare the
remedy at law other *303 than to pursue their declaratory
judgment action, Plaintiffs’ fifth point on appeal urges this          rights and duties of the parties.” Id. (quoting Law v. City
Court to enter judgment pursuant to Rule 84.14 regarding               of Maryville, 933 S.W.2d 873, 877 (Mo. App. W.D. 1996)).
SAPA's constitutional validity in the interest of justice                  Gurley does not aid Plaintiffs’ position because the circuit
because no material facts are in dispute. The state disagrees,         court here has not been afforded any opportunity to review the
arguing the appropriate remedy is to remand the matter to the          merits of Plaintiffs’ constitutional challenges or their claims
circuit court for it to consider Plaintiffs’ constitutional claims     for injunctive relief. Moreover, Plaintiffs concede they have
in the first instance.                                                 not filed a dispositive motion seeking a declaration SAPA
                                                                       is unconstitutional. Cf. Woods, 595 S.W.3d at 505 (invoking
Rule 84.14 provides, “The appellate court shall award a new            Rule 84.14 to declare the rights of the parties rather than
trial or partial new trial, reverse or affirm the judgment or          remand for further proceedings after the parties filed cross-
order of the trial court, in whole or in part, or give such            motions for summary judgment). Accordingly, this Court
judgment as the court ought to give.” Rule 84.14 further               declines Plaintiffs’ invitation to enter judgment on the merits


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on Plaintiffs’ underlying claims pursuant to Rule 84.14 or            declaratory judgment. Should a precise, actual controversy be
address Plaintiffs’ remaining points on appeal at this stage of       alleged to exist under SAPA relative to any of the Plaintiffs, a
the proceedings.                                                      declaratory judgment may be proper, but a general declaratory
                                                                      judgment is not available to speculative “situations that may
                                                                      never come to pass.”      Schweich v. Nixon, 408 S.W.3d 769,
                          Conclusion                                  778 (Mo. banc 2013).

The circuit court's judgment is reversed, and the cause               Here, there is nothing barring Plaintiffs from raising their
is remanded for further proceedings consistent with this              constitutional issues as affirmative defenses in any suit
opinion.                                                              brought pursuant to SAPA. Plaintiffs, therefore, possess an
                                                                      adequate remedy at law. The principal opinion dismisses
                                                                      this argument, simply asserting the pending suits “likely
Wilson, C.J., Russell, Powell, Breckenridge and Ransom, JJ.,          will not provide Plaintiffs an opportunity to adjudicate their
concur; Fischer, J., dissents in separate opinion filed.              specific constitutional *305 claims due to their procedural
                                                                      posture[.]” To the contrary, not only have Plaintiffs raised
                                                                      facial constitutional claims as an affirmative defense in these
Zel M. Fischer, Judge, dissenting.                                    pending cases, nothing precludes Plaintiffs from raising a
 *304 I respectfully dissent. I would affirm the circuit court's      facial challenge as a defense in any future case.
judgment because Plaintiffs have an adequate remedy at law,
and, therefore, their claims are not appropriate for declaratory      The principal opinion suggests “Plaintiffs need not subject
judgment. As the principal opinion correctly states, “The             themselves to multiple, individual suits to assert their
lack of an adequate remedy at law is a prerequisite to relief         constitutional challenges.” But the pleadings in this case fail
via declaratory judgment,”      City of Kansas City, Mo. v.           to demonstrate an “exceptional circumstance” and should
Chastain, 420 S.W.3d 550, 555 (Mo. banc 2014), and when               not otherwise persuade this Court to depart from its general
an “alternative remedy is a pending suit, there is even greater       rule forbidding declaratory judgment actions when the
justification to apply the rule against allowing declaratory          plaintiff can assert its constitutional claim as a defense.
judgment actions.” Schaefer v. Koster, 342 S.W.3d 299, 300            Nevertheless, I encourage a prompt resolution of this case
(Mo. banc 2011). 1                                                    on remand by the circuit court so individual cases involving
                                                                      actual controversies will not be stalled pending the facial
This Court has recognized declaratory judgment, “while ...            constitutional challenge pleaded in this case.
interpreted liberally, is not a general panacea for all real and
imaginary legal ills, nor is it a substitute for all existing         “In order to mount a facial challenge to a statute, the
remedies. It should be used with caution. And except in               challenger must establish that no set of circumstances exists
exceptional circumstances plainly appearing, it is not to             under which the [statute] would be valid.” Donaldson v. Mo.
be used and applied where an adequate remedy already                  State Bd. of Registration for the Healing Arts, 615 S.W.3d
                                                                      57, 66 (Mo. banc 2020) (alteration in original) (internal
exists.”    Harris v. State Bank & Trust Co. of Wellston,             quotation marks omitted). “It is not enough to show that,
484 S.W.2d 177, 178-79 (Mo. 1972). Writing for the three              under some conceivable circumstances, the statute might
member dissent in Alpert v. State, Judge Wilson reiterated            operate unconstitutionally.” Id. (internal quotation marks
the bounds of the exception to this Court's general rule              omitted). When “a statute is susceptible to more than one
well, pointing out, “To be sure, this Court has been lax              construction, this Court's obligation is to construe the statute
from time to time in enforcing this ‘adequate remedy at
law’ requirement, but such deviations only can be justified           in a manner consistent with the constitution.”         City of
—if at all—when there are ‘exceptional circumstances’ that            Jefferson v. Missouri Dep't. of Nat. Res., 863 S.W.2d 844, 848
‘plainly appear[ ]’ from the facts of the case.” 543 S.W.3d           (Mo. banc 1993); see also Glossip v. Mo. Dep't. of Transp. &
589, 604 (Mo. banc 2018) (alteration in original) (quoting            Highway Patrol Employees’ Ret. Sys., 411 S.W.3d 796, 802
                                                                      (Mo. banc 2013) (holding “This Court will construe a statute
   Harris, 484 S.W.2d at 178-89). Plaintiffs’ broad facial
challenge, lacking any specific factual allegations, certainly        in favor of its constitutional validity ...”); Watts v. Lester E.
misses the targeted analysis justifying the exceptional relief of     Cox Med. Ctrs., 376 S.W.3d 633, 647 (Mo. banc 2012); State



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                                                                  to keep and bear arms[.]” The Solicitor General, on behalf of
ex rel. Praxair, Inc. v. Mo. Pub. Serv. Comm'n, 344 S.W.3d
                                                                  State, argues SAPA was not intended and does not seek to
178, 187 (Mo. banc 2011) 2 .
                                                                  nullify state or federal law, but rather expresses the General
                                                                  Assembly's collective opinion regarding the constitutional
Plaintiffs’ facial challenge contends “[SAPA] ignores
                                                                  validity of the laws mentioned. No party to this case contends
the Supremacy Clause and seeks to invalidate some
                                                                  the collective opinion of the General Assembly in this regard
universe of federal laws that the General Assembly deems
                                                                  usurps this *306 Court's obligation of judicial review 3 or
unconstitutional[.] ... The General Assembly cannot impose
                                                                  would bind this Court or any other court.
its view of the validity of federal laws on anyone, much less
the courts.” The Solicitor General responds by contending
a reasonable construction based on the text of SAPA               All Citations
demonstrates the General Assembly is merely “stat[ing] its
view that such laws and regulations infringe[ ] on the right      643 S.W.3d 295




                                                        Footnotes


1      All statutory references to SAPA are to RSMo Supp. 2021.

2      This Court has exclusive jurisdiction over an appeal involving the constitutional validity of a statute. Mo.
       Const. art. V, sec. 3.

3      Because the state conceded there was “substantial overlap” between its motion for judgment on the pleadings
       and Plaintiffs’ motion for injunctive relief and encouraged the circuit court to consider the motions together,
       this Court finds the factual allegations contained in the preliminary injunction are a part of the record before
       this Court. This Court does not, however, consider the renewed preliminary injunction as a response to the
       state's motion for judgment on the pleadings. Moreover, merely because the circuit court did not consider the
       allegations in the renewed preliminary injunction motion when making its ruling does not mean those factual
       allegations are not a part of the record below.

4      See Quintin L. Davis v. St. Louis Metro. Police Dep't, No. 21AC-CC00280 (Mo. Cir. Ct. July 26, 2021); Darian
       R. Halliday v. St. Louis Metro. Police Dep't, No. 21AC-CC00334 (Mo. Cir. Ct. Aug. 24, 2021) (asserting SAPA
       should be applied retroactively).

5      Shawn D. Nettles St. Louis Metro. Police Dep't, No. 21AC-CC00367 (Mo. Cir. Ct. Sept. 20, 2021) (seeking
       SAPA enforcement for conduct that occurred in 2018); Michael D. Edwards v. Bennie B. Blackman, et al., No.
       21AC-CC00383 (Mo. Cir. Ct. Oct. 4, 2021) (seeking SAPA enforcement for conduct that occurred in 2020);
       Jason M. Thompson v. St. Louis Cnty. Police Headquarters, No. 21AC-CC00392 (Mo. Cir. Ct. Oct. 8, 2021)
       (seeking SAPA enforcement for conduct that occurred in April 2021).

6      This Court's finding that the pending lawsuits do not provide an adequate remedy at law does not render
       superfluous section 1.460.1 enforcement actions or Plaintiffs’ ability to assert defenses in the future. This
       Court's holding speaks only to Plaintiffs’ ability to assert their constitutional challenges in the cited pending
       lawsuits when compared to seeking declaratory judgment.

1      The principal opinion wrongly asserts “Because the State conceded there was ‘substantial overlap’ between
       its motion for judgment on the pleadings and Plaintiffs’ motion for injunctive relief and encouraged the circuit
       court to consider the motions together ... the factual allegations contained in the preliminary injunction are part




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       of the record before this Court.” Op. at 299 n.3. This mistake results in the principal opinion considering factual
       allegations the circuit court did not consider when ruling on the State's motion for judgment on the pleadings.

       At the hearing, when the State and City argued the City's motion for preliminary injunction and the State's
       motion for judgment on the pleadings, the circuit court and State engaged in the following exchange regarding
       the motions being heard:

         MR. SAUER: And, your Honor, if I may, there's really substantial overlap between the two motions. We
         might want to just argue them both at the same time. You know, there's – most of the issues I think are
         purely legal in the PI motion and obviously that's true in the motion for judgment on the pleadings.

         The COURT: Yeah, I'm sure that you-all won't re-plow ground that's already been tilled.

       The only agreement was that the motions be argued at the same time, not that the factual allegations in the
       City's motion for preliminary injunction be considered as a response to the State's motion for judgment on
       the pleadings.

2      This Court's unanimous opinion in State ex rel. Praxair, Inc. v. Missouri Public Service Commission, explained
       this well-settled principle with clarity:

         Because the legislature is presumed to enact laws that comport with constitutional standards, this Court
         is reluctant to interpret statutes in a manner that would render them unconstitutional or raise serious
         constitutional difficulties. A court should avoid a construction which would bring a statute into conflict with
         constitutional limitations. It has long been an axiom of statutory interpretation that where an otherwise
         acceptable construction of a statute would raise serious constitutional problems, the Court will construe the
         statute to avoid such problems unless such construction is plainly contrary to the intent of the legislature.

       344 S.W.3d at 187 n.7 (internal citations, alterations, and quotations omitted).

3
       Mo. Const. art. V, § 3;    Marbury v. Madison, 5 U.S. 137, 138, 1 Cranch 137, 2 L.Ed. 60 (1803).



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